HIGGINS & OWENS,PLLC

 

Raymond E. Owens, Jr.
524 East Boulevard
Charlotte, NC 28203
Telephone: (704) 295-4509
Facsimile: (704) 749-9451
rowens([l)hiv<!insowens.com

April 16, 2019
VIA EMAIL

Clerk of Court

United States District Court
Western District of North Carolina
401 West Trade Street, Room 210
Charlotte, NC 28202

Re: Seitz v. U.S. National White Water Center, Inc. et al.
Civil Action Nurnber 3:18-CV-00044-MOC-DSC
To Whom It May Concern:
I am filing an Amended Report to report the following result of the Mediated Settlement
Conference held on April ll, 2019 in the above matter. All parties and their counsel were

present at the mediation The filing of a stipulation of dismissal with prejudice of all claims and
all parties shall be filed by counsel.

Sincerely,

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Ray ond E. Owcns, Jr.

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